                         Case 2:22-cv-03060-WB Document 4 Filed 08/17/22 Page 1 of 1

                                                           AFFIDAVIT OF SERVICE

 Case:        Court:                                                     County:        Job:
 2:22-CV-     UNITED STATES DISTRICT COURT FOR THE EASTERN                              7492305 (2:22-CV-03060 File 81906)
 03060        DISTRICT OF PENNSYLVANIA
 Plaintiff / Petitioner:                                                 Defendant / Respondent:
 CHRISTOPHER J. HADNAGY, individually and on behalf of SOCIAL-           JEFF MOSS and DEF CON COMMUNICATIONS, INC.
 ENGINEER, LLC
 Received by:                                                            For:
 Clark County Process Service, LLC                                       Comitz Law Firm LLC
 To be served upon:
 Jeff Moss

I, William Falkner, being duly sworn, depose and say: I am over the age of 18 years and not a party to this action, and that within the
boundaries of the state where service was effected, I was authorized by law to make service of the documents and informed said person of
the contents herein

Recipient Name / Address:       Jeff Moss, Caesar’s Forum Convention Center: 3911 Koval Ln, Las Vegas, NV 89109
Manner of Service:              Substitute Service - Personal, Aug 11, 2022, 11:57 am PDT
Documents:                      Cover Letter dated August 11, 2022; Summons in a Civil Action; Civil Cover Sheet; Case Management Track
                                Designation Form; Complaint

Additional Comments:
1) Successful Attempt: Aug 11, 2022, 11:57 am PDT at Caesar’s Forum Convention Center: 3911 Koval Ln, Las Vegas, NV 89109 received by Jeff
Moss. Age: 60’s; Ethnicity: Caucasian; Weight: 210; Height: 5'9"; Hair: Other; Other: I was escorted to a locked room that was designated as
Event Security, and met with a gentleman I was told was Mr. Moss's personal security and had the ability to contact him directly. I waited
approximately 25 minutes when two Attorney's arrived. Jeffery C. McNamara who identified himself as Attorney for DefCon and Jeffery Moss,
and Alexander J.A. Garcia. I served Jeffery C McNamara, Attorney at Law. Mr. McNamara stated that defendant Moss was not and would not
be available for service. Mr. McNamara completed an Acceptance of Service indicating he was authorized to accept service on Defendant
Moss behalf. ;




                                              08/11/2022
William Falkner                               Date
2031

Clark County Process Service, LLC
2500 Chandler Ave #4
Las Vegas, NV 89120
702-326-5454
